 Case 2:20-cv-05391-JMV-JBC Document 1 Filed 04/30/20 Page 1 of 5 PageID: 1



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 Attorneys for Defendant,
 Prestige Maintenance USA

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                                            Civil Action Number:
RHONDA BRACKETT,

                   Plaintiff,

~~~                                                       NOTICE OF REMQVAL

PRESTIGE MAINTENANCE, USA A/K/A                         ELECTRONICALLY FILED
PRESTIGE CLEANING SERVICE, J. C.
PENNEY CORPORATII~N, INC., et al.,

                   Defendants.




         Defendant, Prestige Maintenance USA a/k/a Prestige Cleaning Service

 ("Prestige"), through its counsel, McElroy. Deutsch, Mulvaney &Carpenter, LLP, hereby

  submits this Notice of Removal pursuant to 28 U.S.0 § 1441, et se ., and allege the

  following against plaintiff, Rhonda Brackett ("plaintiff'):

         1,      On or about March 6, 2020, plaintiff commenced a civil action against

  Prestige and J. C. Penney Corporation, Inc. ("J. C. Penney"), in the Superior Court of

 New Jersey, Essex Count}~, Law Division, Docket Nn. ESX-L-1838-20 (hereinafter,

 "State Action")

         2e      On or about April 2, 2020, plaintiff filed an Amended Complaint,

         3.      A true and accurate copy of the Complaint and Summons and Amended
Case 2:20-cv-05391-JMV-JBC Document 1 Filed 04/30/20 Page 2 of 5 PageID: 2



Complaint filed by plaintiff in the State Action are attached to the Affidavit of Diana M.

Hendry, Esq. submitted herewith ("Hendry Aff.") as Exhibit A and constitute all process,

pleadings and orders filed in the State Action.

             4.   On March 31, 2020, the Summons and Complaint were served on Prestige.

Hendry Aff., Exhibit B.

             5.   This Notice of Removal, which is being filed within thirty (30) days of

receipt of the Summons and Complaint in the State Action, is timely filed under 2$

U.S.C. § 1446(b).

             6.   Plaintiff resides in the Township of Montclair, County of Essex, New

Jersey. Id., Exhibit A.

             7.   Upon information and belief, plaintiff is a citizen of the State of New

Jersey. Ibid.

         8.       At the time the State Action was filed, Prestige was and continues to be a

corporation organized and existing by virtue of the laws of the State of Texas with its

principal place of business at 7460 W 100th Place, Bridgeview IL 60455. Id.,'~ 5.

             9.   At the time the State Action was filed, co-defendant J. C. Penney was and

continues to be a corporation organized and existing by virtue of the laws of the State of

Delaware with its principal place of business at 6501 Legacy Drive, Plano, Texas 75024.

Id., ~( 6.

         10.      Accordingly, at the time the State Action was filed, and at the present

time, there is complete diversity of citizenship between plaintiff and all identifiable

defendants, as contemplated by 28 U.S.C. § 1332 and by 28 U.S.C. § 1441. There are no

defendants that defeat the complete diversity.




                                              2
Case 2:20-cv-05391-JMV-JBC Document 1 Filed 04/30/20 Page 3 of 5 PageID: 3



        11.     The t~mended Complaint contains two counts; the count against Prestige

seeks monetary damages for personal injuries and damages allegedly sustained by

plaintiff. Id., Exhibit A.

        12.     While New Jersey Court Rules prohibit specifically pleading the amount

of monetary damages sought in a personal injury action, plaintiff Rhonda Brackett claims

that "the culpable party or parties, their agents, servants and/or employees, [] caused or

contributed to the Plaintiff, Rhonda Bracken's accident and injuries . . . thereby causing

her to be painfully and permanently injured, and otherwise damaged as previously set

faith at length herein." Ibid.

       13.     I initially sen# an email to plaintiff's counsel on March 17, 2020, regarding

the issue of removal. Id., ¶ 9.

       14.     I subsequently spoke with plaintiff's counsel on the telephone, regarding

the issue of removal and he was not amenable to stipulating to damages less than

$75,000. Id., ¶ 10.

       15.     On April 29, 2020, I emailed plaintiff's counsel to confirm that he was not

willing to stipulate on behalf of his client to damages less than the jurisdictional threshold

with regard to defendant Prestige. Id., ~ 1 L

       16.     I have not received a reply to that email. Id. ~ 12.

       17.     Plaintiff has not made a settlement demand. Id.,'~ 13.

       1$.     A subpoena was issued for records pertaining to plaintiff. Id., ~ 14.

       19.     As aresult, Prestige has obtained certain medical records. Id., ¶ 15.

       20.     In .those medical records is a report by Dr. Robin M. Gehrmann of

collegiate Orthopaedics ~ Sports Medicine Institute. Id., Exhibit G




                                                3
Case 2:20-cv-05391-JMV-JBC Document 1 Filed 04/30/20 Page 4 of 5 PageID: 4



        21.     Dr. Gehrmann summarizes plaintiff's medical treatment and diagnoses.

Id.

        22.     Dr. Gehrmann's impression includes the opinion that "I feel she has

developed complex regional pain syndrome involving her left knee. . . I feel she would

benefit from evaluation by a pain management physician who could potentially perform

some nerve blocks as well as comprehensive physical therapy." Id.

       23.      Dr. Gehrmann relates her symptoms to the incident at issue. Id.

       24.     Complex regional pain syndrome is a very serious diagnosis that can lead

to significant damages if proven.

       25.     Based on the allegations in the Amended Complaint, plaintiff's counsel's

representations regarding plaintiff's injuries, medical records including those cited above,

together with plaintiff's refusal to stipulate to limit damages, there exists sufficient

information to state that the amount in controversy exceeds $75,000.00.

       26.     Thz requirement under 28 U.S.C. § 1446(b) that all defendants served with

the Amended Complaint join in the notice of removal has been satisfied as this Notice of

Removal is being filed on behalf of Prestige and co-defendant J. C. Penney consents to

removal. Id., ¶ 2 ~

       27.     Venue is proper in this District under 28 U,S,C. § 1441(a) because this

District and vicinage embrace the place where the removed action is pending.




                                             4
Case 2:20-cv-05391-JMV-JBC Document 1 Filed 04/30/20 Page 5 of 5 PageID: 5



          WHEREFORE, J. C. Penney prays that the State Action be removed to this Court.



Dated: Apri130, 2020                 McELROY, DEUTSCH, MULVANEY &
                                     CARPENTER, LLP
                                     Attorneys for Defendant,
                                     Prestige Maintenance USA


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